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         EXHIB1
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STATE OF INDIANA                                     IN THE NOBLE SUPERIOR COURT
                             )   SS:
COUNTY OF NOBLE                                      CAUSE NO,      57D01... 1 4 07 -CT- 0 0 9
,JEFF MONEY,

             Plaintiff,

      v.

KENDALLVILLE PLACE
APARTMENTS, PHASE II, LLC,
d/b/a NELSON ESTATES                                                     'JUL 2 4 2014
APARTMENTS, PHASE II,
                                                                    CLERK NOBLE SUPERIOR COURT
             Defendant.                                                     DIVISION 1




                                         COMPLAINT

      Plaintiff, by counsel, alleges against Defendant that:

   1, The Plaintiff is Jeff Money, a disabled resident of Nelson Estates Apartments in Noble

      County, Kendallville Indiana at all material times to . this Complaint,

   2, The Defendant is Kendallville Place Apartments, Phase II, LLC, d/b/a Nelson Estates

      Apartments, Phase II, a company doing business at 1815 Raleigh Avenue, Kendallville,

      Indiana 46755. At all material times to this Complaint, Defendant was subject to the

      terms and provisions of Title II of the Americans with Disabilities Act with respect to the

      accessibility of parking spaces to handicapped individuals,

   3. On or about August 3, 2012, Plaintiff was in the process of exiting a vehicle at his

      residence, and attempted to use his wheelchair. The vehicle was parked in a handicapped

      spot in the parking lot at the Nelson Estates apartment complex. The handicapped parking

      area lacked sufficient room for Plaintiff to safely exit the vehicle and use his wheelchair,

      As a result, Plaintiff fell and hit his head on a car, causing physical pain and injury,

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        including a serious injury to his leg.

    4. Plaintiff contends that the Defendant violated his right to have equal access to the property,

        discriminating against him on the basis of his disability by failing to provide safe and

        adequate parking for individuals needing wheelchairs. Furthertnore, the Defendant's

        discriminatory acts and omissions were in violation of Plaintiff's federally protected rights

        under Title II of the Americans with Disabilities Act ("ADA"),

    5. Defendant's discriminatory acts and/or omissions were the direct and proximate cause of

        Plaintiff suffering physical pain, injury, inconvenience, accrual of medical bills, emotional

        distress and other damages and injuries.

    6. Defendant's discriminatory acts and/or omissions were intentional, willful, wanton and in

        reckless disregard of Plaintiff's federally protected rights under Title II of the ADA,

        warranting an imposition of punitive damages,

        WHEREFORE, Plaintiff respectfully prays for judgment against the Defendant for

compensatory damages, punitive damages, reasonable attorney's fees and costs, and all other just

and proper relief in the premises.



                                          JURY DEMAND

        Pursuant to Rule 38(b) of the Indiana Rules of Trial Procedure, Plaintiff demands a trial by

jury in this action.
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                                                       Respectfully submitted,

                                                       CHRISTOPHER C. MYERS & ASSOCIATES




                                                       Christopher C. Myers, #11043-02
                                                       Ilene M. Smith, #22818-02
                                                       Rachel J. Guin-Lowry, #31722-02
                                                       809 South Calhoun Street, Suite 400
                                                       Fort Wayne, IN 46802
                                                       Telephone:     (260) 424-0600
                                                       Facsimile:     (260) 424-0712
                                                       E-mail:        cmyers@myers-law,corn
                                                                      ismith@myers-law.corn
                                                                      rguin@tnyers-law,corn
                                                       Attorneys for Plaintiff



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